Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 1 of 22



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           Case No. 17-24103-Civ-COOKE/GOODMAN


   TIKD SERVICES LLC,

          Plaintiff,

   vs.

   THE FLORIDA BAR, et al.,

          Defendants.
                                                 /

                      THE FLORIDA BAR DEFENDANTS’ MOTION
                 TO EXCLUDE THE TESTIMONY OF DR. ABRANTES-METZ
                     AND INCORPORATED MEMORANDUM OF LAW

          Pursuant to Federal Rules of Evidence 104(a), 401, 402, 403, 702 and 703, and
   Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), The Florida Bar (“TFB”)
   and its President and Executive Director as Defendants in their official capacities (collectively
   the “TFB Defendants”) move for an order excluding the testimony of Plaintiff’s proposed
   expert Dr. Rosa Abrantes-Metz, and for an evidentiary Daubert hearing on this motion. The
   methodology that Dr. Abrantes-Metz uses in this case is flawed and her opinions are based
   on insufficient or incorrect facts or data. For these reasons, her testimony should be excluded.
                                     MEMORANDUM OF LAW

   I.     Overview

          In Daubert, the U.S. Supreme Court required district courts to exclude testimony
   unlikely to assist the trier of fact through the application of scientific, technical or specialized
   knowledge. The testimony that Dr. Abrantes-Metz proposes to give in this case concerns the
   most critical issues in this lawsuit: antitrust violation, causation and injury. But her testimony
   is the very type that Daubert was designed to exclude because it violates Daubert’s reliability
   and relevance requirements. Unless the Court excludes this testimony, it will seriously
   mislead the jury through the creation of a false aura of scientific infallibility and
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 2 of 22



   misapplication of the law to the facts and would be reversible error. See, e.g., Ga. Kaolin Int'l
   v. M/V Grant Justice, 644 F. 2d 412, 417 (5th Cir. Unit B May 1981) (district court abused
   its discretion by permitting expert testimony based on assumptions contrary to facts that
   materially impacted the outcome of the case);1 Boucher v. U.S. Suzuki Motor Corp., 73 F.3d
   18, 22 (2d Cir. 1996) (district court abused discretion by permitting speculative expert
   testimony on earning capacity).
   II.     Factual Background

           The Plaintiff hired two experts who have each offered expert reports and been deposed.
   This motion addresses the proposed testimony of Dr. Abrantes-Metz. As reflected in her
   expert report (herein, the “Report,” Doc. 215-1) and in her deposition testimony, Dr.
   Abrantes-Metz purports to offer opinions, inter alia, to “address economic issues relating to
   the relevant antitrust market, alleged coordination, and anti-competitive effects of the alleged
   conduct.”
           Paragraph 5 of the Report purports to summarize Dr. Abrantes-Metz’s opinions as
   follows:
           •     The relevant market with respect to the subject litigation is “access to legal
                 services to defend traffic tickets” in the State of Florida, and competitors within
                 that market include individuals and law firms specializing in defending traffic
                 tickets and intermediaries which match customers to attorneys.

           •     The Florida Bar is controlled by attorneys who are competitors or potential
                 competitors, many of whom, including attorneys affiliated with The Ticket
                 Clinic, have a financial interest in excluding non-attorneys, like TIKD, from the
                 Relevant Market.

           •     The Florida Bar has the plenary ability to control the Relevant Market because
                 its membership encompasses 100% of licensed attorneys in the State of Florida—
                 including 100% of licensed attorneys specializing in defending traffic tickets—
                 and because, through its licensing, investigatory, regulatory, and disciplinary
                 functions, including issuing ethics opinions and responding to questions from
                 attorneys calling its Ethics Hotline, it serves as the absolute gatekeeper
                 empowered to bar access to attorneys who wish to serve that market. Through
                 its regulations and disciplinary measures with an effect of excluding providers of
                 access to legal services from the Relevant Market, The Florida Bar has the power
                 to place barriers to entry into and to influence market outcomes in the Relevant
                 Market.

   1
    In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh Circuit adopted as
   binding precedent all decisions of the former Fifth Circuit issued prior to October 1, 1981.


                                                         2
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 3 of 22




          •       The Ticket Clinic is among the largest players in the Relevant Market with a
                  share of 13.3% of tickets issued, as estimated by Mr. Walter Bratic. Its founder,
                  Mark Gold, has claimed that he “invented” dedicated traffic defense legal
                  practice.

          •       The alleged concerted and coordinated conduct both by The Florida Bar
                  internally and by The Ticket Clinic and The Florida Bar effectively excluded
                  TIKD from the Relevant Market.

          •       The alleged concerted and coordinated conduct both by The Florida Bar
                  internally and by The Ticket Clinic and The Florida Bar together reduced
                  competition and induced various anticompetitive effects in the Relevant Market,
                  in the short- and in the long-run. Specifically, in the short-run:

                         o Consumers have fewer options available and are worse off due to the
                           loss of innovative and easy options to defend their traffic tickets;

                         o Consumers pay more on average per ticket defended, and lose more
                           consumer welfare the more risk adverse they are;

                         o Reduction of output in the Relevant Market, if not all TIKD’s
                           customers switched to competitors, but instead elected to pay their
                           ticket rather than defending it;

                         o Attorneys who represent or represented TIKD customers are worse off
                           due to loss of clients and business, as well as innovative options for
                           acquiring new clients.

              •   In the long-run, the dynamic efficiencies generated from an innovative
                  competitor such as TIKD are not materialized:

                         o Future additional innovation is deterred, which could have assisted
                           with lower future prices and increased future consumer options,
                           enabling expanded future output from both new customers added and
                           from attorneys who would otherwise have continued or become
                           associated with TIKD in the future.

   (Report at 4-5.)
          There are numerous significant problems with these proposed opinions. First, Dr.
   Abrantes-Metz’s Report indicated she would provide testimony as to how the alleged conduct
   of the Defendants “reduced competition and induced various anticompetitive effects in the
   Relevant Market.” (Report at 4.) But in fact, she did not provide such testimony and cannot
   offer any such opinion. At her deposition, she repeatedly stated that she did not have an


                                                   3
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 4 of 22



   opinion as to whether the Defendants’ alleged conduct caused TIKD’s sales and revenues to
   drop, but only that there was a correlation between the alleged conduct and the drop in sales
   revenues. (Abrantes-Metz deposition (hereinafter “Dep.”) at 54-55, 72-78, and 174-175.)2
              As Dr. Abrantes-Metz herself noted, “We need to distinguish between correlation and
   cause.” (Dep. at 75:5-6). She specifically testified she is “not opining on . . . causation” (id.
   73:18-23) which she “was not” asked to do (id. at 73:13-16), but instead made clear she is
   simply “looking into a correlation” (id. at 74:17-21). Nor did she attempt to eliminate other
   possible factors that may have caused TIKD’s revenues and sales to drop. (Id. at 57:12-22.)
              Second, Dr. Abrantes-Metz has done nothing to independently investigate the facts in
   this case herself. (Id. at 30:22-31:4.) She interviewed no witnesses. (Id. at 52:16-20.) She
   listed as documents she relied upon selected deposition testimony from TIKD’s officers, Chris
   Riley and Thomas Spahn, but she did not even know who Thomas Spahn was. (Id. at 36:4-
   37:7.) She failed to review the testimony of a key witness, Barry Kowitt. (Id. at 47:24-48:9.)
   And she failed to review the testimony of any TFB witness. (Id. at 47:18-23.) She relied upon
   TIKD’s complaint but not TFB’s Motion to Dismiss. (Report at 107.) She reviewed TIKD’s
   summary judgment responses and statements of fact, but not TFB’s Motion for Summary
   Judgment or TFB’s statement of facts. (Dep. at 46:6-47:17; Report at 107.)
              Third, she performed none of the requisite tests to determine the relevant product or
   geographic market. She conducted any no competitive pricing analysis of any market. (Dep.
   at 16:6-17:14, 190:20-191:8.) She has done no study of the cross-elasticity of demand for any
   services in any market. (Id. at 176:11-17.) She conducted no regression analysis. (Id. at 16:6-
   17:14.) She did not conduct a hypothetical monopolist test to determine relevant markets.
   (Id. at 177:22-178:2). She did not analyze market share. (Id. at 145:14-146:18). She has
   conducted no consumer preference surveys. (Id. at 84:13-21.)
              Fourth, she did not provide any opinion that either TFB or TTC had market power.
   (Id. at 209:16-211:7.) In fact, she stated unequivocally that TFB did not have market power.
   (Id. at 210:4-5.) She testified that she was not asked to determine if TTC had market power.
   (Id. at 210:9-11.) Such expert testimony is a prerequisite for any claim under Section 2 of the
   Sherman Act and Section 542.19, Florida Statutes, and the lack of such opinion is therefore



   2
       Excerpts of Dr. Abrantes-Metz’s deposition are attached as Exhibit A.


                                                           4
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 5 of 22



   fatal to Plaintiff’s claims. Am. Key Corp. v. Cole Nat’l Corp., 762 F.2d 1569, 1579 (11th Cir.
   1985) (“Construction of a relevant economic market or a showing of monopoly power in that
   market cannot, however, be based upon lay opinion testimony.”).3
            In short, Dr. Abrantes-Metz reviewed only those materials provided to her by counsel
   for TIKD and nothing else. She relied upon no information related to TFB’s positions or facts
   and did not even review the depositions of TFB staff. (Dep. at 41:23-43:4.) She conducted
   no independent investigation of any facts but simply regurgitated the allegations of the
   Amended Complaint and assumed that they were true. (Id. at 30:16-31:4, 42:11-43:4.) Nor
   did she do any statistical, econometric or other analysis of data. (Id. at 175:24-178:2.) And
   she reached no opinions on critical issues such as the existence of market power and whether
   Defendants’ alleged conduct, taken as a given, was a material cause of TIKD’s drop in sales
   and revenues.
           As shown below, Dr. Abrantes-Metz also has made numerous faulty assumptions in
   critical areas that are contradicted by the record. Included among these, Dr. Abrantes-Metz
   also offers numerous unfounded “opinions” about the legal nature and function of TFB which
   are misleading and prejudicial, and therefore must be excluded.
           For all these reasons, the Court should exclude Dr. Abrantes-Metz’s opinions.
   III.    Standard of Review and to Exclude Expert Testimony

           Expert testimony can be “‘both powerful and quite misleading’” and, therefore, great
   care must be taken to avoid “dumping a barrage of questionable” evidence on a jury likely to
   be “awestruck by the expert’s mystique.” Allison v. McGhan Med. Corp., 184 F.3d 1300,
   1310 (11th Cir. 1999) (quoting Daubert, 509 U.S. at 595). A party seeking the admission of
   expert testimony must establish, by a preponderance of the evidence, a proper foundation for
   it under Federal Rule of Evidence 702.4


   3
     Notably, Dr. Abrantes-Metz was retained more than eight months after Plaintiff filed its complaint alleging
   that Defendants had market power in the alleged relevant market.
   4
     Rule 702 states:
            A witness who is qualified as an expert by knowledge, skill, experience, training, or education
            may testify in the form of an opinion or otherwise if:
        1) the expert’s scientific, technical, or other specialized knowledge will help the trier of fact to
            understand the evidence or to determine a fact in issue;
        2) the testimony is based on sufficient facts or data;
        3) the testimony is the product of reliable principles and methods; and



                                                        5
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 6 of 22



           In conjunction with Rules 401,5 4036 and 703,7 Rule 702 imposes a standard of
   evidentiary reliability that contrasts with the generous approach to admissibility reflected in
   Rules 401 and 402. Allison, 184 F.3d at 1306, 1310; Daubert, 509 U.S. at 589-91. As a result,
   the U.S. Supreme Court imposes a special “gatekeeping” role on the trial court to ensure that
   all expert scientific testimony, as a condition of admittance, is (1) relevant and (2) reliable.
   Allison, 184 F.3d at 1310 (citing Daubert, 509 U.S. at 597); Phillips v. Am. Honda Motor
   Co., 238 F. App’x 537, 540 (11th Cir. 2007). “The court reviews rulings on the admissibility
   of expert testimony for abuse of discretion.” Allison, 184 F.3d at 1306 (citing Gen. Elec. Co.
   v. Joiner, 522 U.S. 136, 138-39 (1997)). “This deferential standard is not relaxed even though
   a ruling on the admissibility of expert evidence may be outcome-determinative.” Id.; see also
   McDowell v. Brown, 392 F.3d 1283, 1294 (11th Cir. 2004). Generally, “[c]ourts are
   cautioned not to admit speculation, conjecture, or inference that cannot be supported by
   sound scientific principles. The courtroom is not the place for scientific guesswork, even of
   the inspired sort. Law lags science; it does not lead it.” Hendrix ex rel. G.P. v. Evenflo Co.,
   609 F.3d 1183, 1193 (11th Cir. 2010) (quoting Rider v. Sandoz Pharms. Corp., 295 F.3d 1194,
   1202 (11th Cir. 2002)).
           A.       Expert Testimony Must Be Reliable

           The first “gatekeeping” duty on trial judges imposed by Rule 702 is, “where [expert]
   testimony’s factual basis, data principles, methods, or their application are called sufficiently
   into question . . . the trial judge must determine whether the testimony has a ‘reliable basis in
   the knowledge and experience of [the relevant] discipline.’” Kumho Tire Co. v. Carmichael,
   526 U.S. 137, 149 (1999) (quoting Daubert, 509 U.S. at 592). The court must determine not
   whether the expert is correct, but whether the proponent of expert testimony has established
   by a preponderance of the evidence that the testimony is reliable in the context of the


        4) the expert has reliably applied the principles and methods to the facts of the case.
   5
     Federal Rule of Evidence 401 defines relevant evidence as that which “has any tendency to make a fact more
   or less probable than it would be without the evidence” and “is of consequence in determining the action.”
   6
     Federal Rule of Evidence 403 states, “[t]he court may exclude relevant evidence if its probative value is
   substantially outweighed by a danger of one or more of the following: unfair prejudice, confusing the issues,
   misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”
   7
     In connection with expert testimony, a court must “be mindful of” Federal Rules of Evidence 703 and 403, in
   addition to Rule 702. Daubert, 509 U.S. at 595. Under Rule 703, expert opinions may be based on hearsay
   only if the “facts or data” relied upon are of a type reasonably relied upon by experts in the particular field in
   forming opinions or inferences upon the subject. See Allison, 184 F. 3d at 1312.


                                                           6
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 7 of 22



   methodologies or techniques applied with the appropriate field. See Allison, 184 F.3d at
   1312; accord Padillas v. Stork-Gamco, Inc., 186 F.3d 412, 418 (3d Cir. 1999). Reliability is
   as much a factor for economists as for any other experts. See In re “Agent Orange” Prod.
   Liab. Litig., 611 F. Supp. 1223, 1248 (E.D.N.Y. 1985) (citing Merit Motors, Inc. v. Chrysler
   Corp., 569 F.2d 666, 673 (D.C. Cir. 1977)), aff'd, 818 F. 2d 187 (2d Cir. 1987), cert. denied,
   487 U.S. 1234 (1988).
          The inquiry required by Rule 702 is flexible, but requires the Court at least to assess
   the following factors to evaluate the reliability of an expert’s proposed testimony: 1) whether
   the expert’s methodology has been tested or is capable of being tested; 2) whether it has been
   subjected to peer review and publication; 3) the known or potential rate of error of the theory
   or technique; and, 4) whether the technique has been generally accepted in the proper
   scientific community. Allison, 184 F.3d at 1312; Phillips, 238 F. App’x at 540 (excluding
   expert testimony where there was no reliable link between the expert’s data and the facts in
   the case); City of Tuscaloosa v. Harcros Chems., Inc., 158 F.3d 548, 562 n.16 (11th Cir. 1998).
          B.      Expert Testimony Must Be Relevant and “Fit” the Facts

          The second “gatekeeping” duty imposed by Daubert on trial judges is to “ensure that
   the proposed expert testimony is ‘relevant to the task at hand,’ . . . i.e., that it logically
   advances a material aspect of the proposing party’s case.” Allison, 184 F.3d at 1312.
   “Significantly, the expert’s testimony must be helpful to, or ‘fit’ with, the factual issues to be
   resolved—i.e., the district just must determine whether the expert’s reasoning and
   methodology can be properly applied to the facts.” Johnson v. Louisville Ladder, No. 07-
   764-KD-M, 2008 WL 5122261, at *8 & n.4 (S.D. Ala. Nov. 14, 2008); see also id. (“Where
   the opinion does not advance the question in dispute for which the opinion is proffered, then
   there is no ‘fit’ and the opinion should be excluded.”); McDowell, 392 F.3d at 1299 (“[A]n
   expert opinion is inadmissible when the only connection between the conclusion and the
   existing data is the expert’s own assertions . . . .”)). “[W]here an expert’s testimony fails to
   meet the ‘fit’ requirement (because the data or facts relied upon are materially different from
   the data or facts of the case), the inquiry ends because the testimony is due to be excluded.”
   Johnson, 2008 WL 5122261, at *11.




                                                   7
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 8 of 22



   IV.     Argument

           A.       Dr. Abrantes-Metz’s Testimony Is Not Reliable

           Dr. Abrantes-Metz’s testimony fails to satisfy any prong of the four-part test of
   reliability in this Circuit and should therefore be excluded. Allison, 184 F.3d at 1309.
                    1.      The Expert’s Theory of Liability Has Not Been Tested
           “The first and most significant Daubert factor is whether the scientific theory has been
   subjected to the scientific method.” Bushore v. Dow Corning-Wright Corp., No. 92-344-CIV-
   T-26C, 1999 WL 1116920, at *3 (M.D. Fla. Nov. 15, 1999) (internal quotation marks omitted)
   (excluding expert testimony on causation); accord Haggerty v. Upjohn Co., 950 F. Supp.
   1160, 1163 (S.D. Fla. 1996) (ruling untested expert testimony inadmissible), aff'd, 158 F.3d
   588 (11th Cir. 1998). As one district court noted, “[e]xperts cannot float their conclusions on
   cushions of air; they must rest those conclusions upon foundations built from reliable
   scientific explanation.” Navarro v. Fuji Heavy Indus., Ltd., 925 F. Supp. 1323, 1328 (N.D.
   Ill. 1996), aff'd, 117 F.3d 1027 (7th Cir. 1997), cert. denied, 522 U.S. 1015 (1997). In antitrust
   cases, an economist’s proposed testimony about the relevant market, anticompetitive conduct
   and damages based on an unreliable methodology should be excluded. Ky. Speedway v. Nat’l
   Ass’n of Stock Car Racing, 588 F.3d 908, 918 (6th Cir. 2009) (excluding economist’s
   testimony about market and anticompetitive conduct premised upon utilizing methodology
   in an untested manner); Corey Airport Servs., Inc. v. City of Atlanta, 632 F. Supp. 2d 1246,
   1299 (N.D. Ga. 2008), rev'd in part on other grounds, 587 F. 3d 1280 (11th Cir. 2009)
   (excluding testimony, in part, because economist assumed antitrust violation before defining
   relevant market).8 Dr. Abrantes-Metz's testimony is flawed in each of these respects.




   8
     Accord Major League Baseball Props., Inc. v. Salvino, Inc., 542 F.3d 290, 311 (2d Cir. 2016) (affirming as
   inadmissible economist’s report lacking empirical support and ignoring testimony); SMS Sys. Maint. Servs., Inc.
   v. Digital Equip. Corp., 188 F.3d 11, 25 (1st Cir. 1999) (affirming as inadmissible expert report on monopoly
   power based on data unreliability); Marine Travelift, Inc. v. Marine Lift Sys., Inc., No. 10-C-1046, 2013 WL
   3289076, at *4 (E.D. Wis. June 28, 2013) (excluding economist’s testimony on damages lacking independent
   analysis); Victory Records, Inc. v. Virgin Records Am., Inc., No. 08 C 3977, 2011 WL 382743, at *2 (N.D. Ill.
   Feb. 3, 2011) (excluding accountant’s testimony on damages based on internal projections, insufficient
   comparators, and failure to consider alternatives); ZF Meritor LLC v. Eaton Corp., 646 F. Supp. 2d 663, 667-
   68 (D. Del. 2009) (excluding economist’s opinion on damages resting on “the slenderest of analytical threads . .
   . whose source is . . . untested” (internal footnote omitted)).


                                                          8
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 9 of 22



                        a.      Dr. Abrantes-Metz Has Not Performed Any Test Corroborating
                                the Chosen Relevant Markets

          Dr. Abrantes-Metz states that her first task was to define the relevant market. (Report
   at 4.) This “requires identification of both the product at issue and the geographic market for
   that product.” Bailey v. Allgas, Inc., 284 F.3d 1237, 1246 (11th Cir. 2002). In this respect,
   the extent to which an expert may rely upon the allegations in the Complaint is narrowly
   limited:
          The proper procedure would be to assume that the allegations in the complaint
          are true, use those allegations to determine what studies and analyses are
          required in order to define the relevant market, conduct the requisite research
          and define the relevant market, and then determine whether there has been
          harm in that market such that there is a violation of the antitrust laws. Thus, in
          this case, Landon should have first assumed that the factual allegations
          contained in the complaint are true and then used those allegations as a starting
          point for defining the relevant market. Even taking the factual allegations in the
          complaint as true, it might turn out that the relevant market is such that there
          has been no antitrust violation. But by assuming that the allegations are true
          and constitute an antitrust violation, the expert is forced to define the relevant
          market such that a violation has occurred.

   Corey, 632 F. Supp. 2d at 1291. In this case, there is no such evidence. The product market
   Dr. Abrantes-Metz defined—providing “access to legal service to defend traffic tickets”—is
   just a legal conclusion drawn artificially by the Plaintiff in the Amended Complaint and
   unsupported by scientific method.
                                i.     The Product Market Definition Is Untested

          An expert may not testify where his testimony rests on assumptions wholly without
   foundation in the record. See Boucher, 73 F.3d at 21-23 (holding that expert testimony should
   have been excluded when it was based on conjecture and faulty assumptions); Ga. Kaolin
   Int’l, 644 F.2d at 417 (stating that if “the opinion evidence was based on assumptions . . .
   which were incorrect as not being supported in the record or as contrary to the proof in the
   record and which incorrect assumptions would substantially affect the validity of the opinion
   evidence, then such evidence should not have been accepted by the trial court”). Moreover,
   “[w]hen an expert’s proffered opinion merely parrots information provided to him by a party,
   that opinion is generally excluded.” King-Ind. Forge, Inc. v. Millennium Forge, Inc., No.
   1:07-cv-00341-SEB-DML, 2009 WL 3187685, at *2 (S.D. Ind. Sep. 29, 2009).


                                                  9
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 10 of 22



           Dr. Abrantes-Metz testified that on other occasions where she has done a formal
    antitrust analysis of the relevant market, she has performed a regression analysis “many
    times.” (Dep. 16:6-12.) In this case, however, she did not do a regression analysis because it
    required pricing data which she asked TIKD to obtain in discovery, but which was never
    provided to her. (Dep. 16:6-17:14.) Similarly, Dr. Abrantes-Metz failed to undertake the
    most basic test or other analyses of the cross-elasticity of demand within the markets to
    determine whether the product market she proposes is supported by the facts. (Dep. 176:11-
    14.) The failure to conduct such tests is a departure from standard professional practice. See
    Corey, 632 F. Supp. 2d at 1291-92 (stating that the outer boundaries of a product market are
    determined by the reasonable interchangeability of use or the cross-elasticity of demand); Ky.
    Speedway, 588 F.3d at 917 (similar). Like other kinds of expert testimony, testimony
    regarding the relevant market for purposes of establishing an antitrust violation may be
    excluded if not based on evidence in the record. In re Agent Orange Prod. Liab. Litig., 611
    F. Supp. at 1248 (excluding testimony of economist assuming the geographic scope of the
    market without record support); see also Pa. Dental Ass’n v. Med. Serv. Ass’n, 745 F.2d 248,
    261-62 n.7 (3d Cir. 1984).
                          ii.     The Geographic Market Definition Is Untested
           Dr. Abrantes-Metz accepted the same geographic market described in the Complaint:
    the entire state of Florida. But she did no scientific analysis of the data to determine whether
    there are smaller geographic markets at the regional or county level. (Dep. at 200:3-22.)
           Dr. Abrantes-Metz’s testimony shows that her proposed relevant geographic market is
    inconsistent with the facts and is contradicted by the testimony of Mr. Riley and TIKD’s other
    expert on damages, Walter Bratic. For instance, many of the law firms and non-law firms
    Dr. Abrantes-Metz lists as competitors in her Report only serve some of the counties in
    Florida. When defining the relevant geographic market, Dr. Abrantes-Metz also includes at
    least four firms in her list of competitors that she indicates are not law firms and do not do
    serve Florida. (Report ¶ 26.) Dr. Abrantes-Metz was unaware about whether the firms which
    she identified as competitors in the alleged relevant market offer services in select Florida
    counties or nationally. (Dep. at 187:20-188:22.) In addition, she was unaware whether TIKD
    provided service during the alleged period in all counties in Florida, or in just select counties.




                                                   10
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 11 of 22



    (Dep. at 187:10-15.) In actuality, TIKD operated in at most 18 of Florida’s 67 counties, and
    in only four counties at the outset of this lawsuit.9
               Dr. Abrantes-Metz offers no rigorous analysis to conclude that the geographic market
    for “access to legal services to defend traffic tickets” is statewide. She has no data to support
    her conclusion. Again, she admitted that she did not perform any price sensitivity analysis as
    is required. (Dep. at 175:24-178:2); see Ky. Speedway, 588 F.3d at 918 (excluding expert
    testimony using untested modified version of Small but Significant Non-transitory Increase
    in Price test); Corey, 632 F. Supp. 2d at 1298 (stating that measurement of the relevant
    geographic market for purposes of an antitrust claim depends on, inter alia, price data). Nor
    did she do any consumer research. (Dep. at 57:23-58:4.) In fact she ignored data that show
    that prices for legal services and TIKD’s own prices varied by county, which is reflected in
    Figure 9 of her own Report. (Report at 60-61.)
               In short, Dr. Abrantes-Metz’s proposed testimony concerning the relevant geographic
    market should be excluded. It is unsupported by any reliable data or sound methodology,
    and is purely the product of her own “ipse dixit” analysis.
                                iii.     Dr. Abrantes-Metz Has No Opinion on Market Power in the
                                         Relevant Market

               Even if Dr. Abrantes-Metz had properly determined and corroborated the product and
    geographic markets for which she intends to offer testimony, Dr. Abrantes-Metz concedes
    that TFB does not have market power and that she was not even asked to determine if TTC
    had market power. Dr. Abrantes-Metz’s testimony therefore simply cannot be the foundation
    of any claim under Section 2 of the Sherman Act or Section 542.19, Florida Statutes based on
    the exercise of market power.
               In using a method of analysis that, although typical within an economist's field, “is not
    typically used to make statements regarding causation without considering all independent
    variables that could affect the conclusion,” Dr. Abrantes-Metz’s testimony fails to comply
    with this prong of the Daubert test. Blue Dane Simmental v. Am. Simmental Ass’n, 178 F.
    3d 1035, 1040-41 (8th Cir. 1999). There must be some reliable factual basis upon which the
    opinions of an expert is premised. See Smith v. Ortho Pharm. Corp., 770 F. Supp. 1561, 1573



    9
        Declaration of Christopher Riley, Doc. 12-2 at p. 5, ¶23.


                                                             11
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 12 of 22



    (N.D. Ga. 1991). Again, “[w]hen an expert’s proffered opinion merely parrots information
    provided to him by a party, that opinion is generally excluded.” King-Ind., 2009 WL 3187685,
    at *2; accord Am. Key Corp., 762 F.2d at 1580 (criticizing the expert for merely “spot
    check[ing]” and doing “nothing to verify the ‘facts’ submitted to him”).
             These material factual errors are a function of Dr. Abrantes-Metz’s failure to conduct
    an independent investigation as is the standard for experts. Repeatedly, Dr. Abrantes-Metz
    testified that she took for granted the facts as presented by the Plaintiff in the Complaint
    without conducting any investigation that could influence her opinion. (Dep. at 30:13-20.)
    She did not read the deposition testimony of any of the TFB witnesses. (Id. at 47:18-23.) Dr.
    Abrantes-Metz’s “head in the sand” approach suggests she has become an advocate for a
    cause, instead of analyzing the issue from an objective standpoint. See Viterbo v. Dow Chem.
    Co., 646 F. Supp. 1420, 1425 (E.D. Tex. 1986), aff'd, 826 F. 2d 420 (5th Cir. 1987) (excluding
    expert testimony without published foundation based on attribution of causation where other
    experts agreed other causes were at work). By comparison, the law is settled that “when an
    expert relies upon information given to him by a party or counsel, he must independently
    verify that information before utilizing it in his calculations.” King-Ind., 2009 WL 3187685,
    at *2. The bottom line is that Dr. Abrantes-Metz’s testimony is unreliable and, thus, should
    be excluded.
                              b.        Dr. Abrantes-Metz’s Proposed Testimony about Antitrust
                                        Injury Is Untested and Is Contradicted by the Record Evidence

             Establishing a substantial likelihood of suffering antitrust injury is a second
    overarching prerequisite to cases brought under the Sherman Act.10 “Antitrust injury” must
    be interpreted narrowly, so Plaintiff’s burden is a heavy one; “speculative statements about
    anticompetitive effects will not satisfy the narrow standard for establishing antitrust injury.”
    HTI Health, 960 F. Supp. at 1111.



    10
      HTI Health Servs., Inc. v. Quorum Health Grp., Inc., 960 F. Supp. 1104, 1111 (S.D. Miss. 1997); see also
    T.O. Bell v. Dow Chem. Co., 847 F. 2d 1179, 1182 & n.4 (5th Cir. 1988) (“Proving antitrust injury is a necessary
    requirement for proving standing; the former cannot stand alone from the latter.”); Phototron Corp. v. Eastman
    Kodak Co., 842 F. 2d 95, 98-99 (5th Cir. 1988) (“[W]e must, at the least, remand the case for a determination
    whether there is a substantial likelihood that Phototron will be able to prove antitrust injury at trial.” (construing
    Cargill, Inc. v. Monfort of Colo., Inc., 479 U.S. 104, 113 (1986))).



                                                             12
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 13 of 22



            As already shown, causation is among the foremost weaknesses in Dr. Abrantes-
    Metz’s proposed testimony. Dr. Abrantes-Metz’s failure to establish a causal link, and to
    consider alternative potential causes for the harms, requires exclusion of her proposed
    testimony.11 If TIKD has suffered any “injury” in the form of lost revenues, it was likely the
    result of its changes to its business model and its decision to cut its advertising and marketing
    expenses, not TFB’s conduct. Dr. Abrantes-Metz’s factual assumptions about correlation
    were wrong. As such, her opinion as to any correlation between the Defendants’ alleged
    conduct and TIKD’s lost revenues is faulty.
            The absence of any reliable link between the experts’ opinions and the facts of a case
    also requires exclusion of the experts’ testimony. Phillips, 238 F. App’x at 540; McDowell,
    392 F.3d at 1301. Because of the failure to show a causal connection between the alleged
    anticompetitive conduct and the “injury-in-fact” to TIKD, Dr. Abrantes-Metz’s testimony
    should be excluded.
            Beyond causation, several other of Dr. Abrantes-Metz’s methodological assumptions
    are unreliable. For instance, Dr. Abrantes-Metz does not account for the differences in the
    mix of tickets served by TIKD and TTC, since TIKD admitted that it rejects a certain portion
    of violations for various reasons. (Riley June 21 Tr., Doc. 193-3 at 164:3-22; Report at 8-19.)
    She wrongly assumes that the quality of services at TIKD and TTC are the same. (Dep. at
    241:9-242:19.) Dr. Abrantes-Metz does not take into account the increased automobile
    insurance premiums that consumers would likely experience in cases where consumers get
    assessed points on their driving records. She fails to acknowledge that a percentage of
    customers whose tickets are dismissed are better off hiring a traffic ticket defense law firm or
    defending the ticket themselves, rather than using TIKD. She did not look at variations in
    the dismissal rates across counties. (Dep. 203:12-204:6.)




    11
      See Smith, 770 F. Supp. at 1581 (“The conclusions Doctors Bussey and Holbrook reach are also insufficient
    as a basis for a finding of causality because they fail to consider critical information, such as the most relevant
    epidemiologic studies and the other possible causes of disease.”); Bushore, 1999 WL 1116920, at *7; Haggerty,
    950 F. Supp. at 1167 (“Dr. Mash’s causation opinion is based on speculation, and the absence of scientific
    principles in her methodology deprives her opinion of the reliability necessary for admission in evidence.”); In
    re Agent Orange Prod. Liab. Litig., 611 F. Supp. at 1249 (“Courts are particularly wary of unfounded expert
    opinion when causation is the issue.” (collecting citations)); Viterbo, 646 F. Supp. at 1425 (excluding expert
    opinion testimony where tests failed to establish a causal link but did show other variables that could account
    for the injuries).


                                                           13
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 14 of 22



           Dr. Abrantes-Metz’s reliance on assumptions that are unsupported or in some cases
    contradicted by record evidence requires that her testimony be excluded. United States v. City
    of Miami, Fla., 115 F.3d 870, 873-74 (11th Cir. 1997) (“Relevant expert testimony is
    admissible only if an expert knows of facts which enable him to express a reasonably accurate
    conclusion. Opinions derived from erroneous data are appropriately excluded.” (citations
    omitted)); Evans v. Mathis Funeral Home, Inc., 996 F.2d 266, 268 (11th Cir. 1993) (holding
    that a district court did not err by excluding an expert’s testimony that “was based on
    assumptions that were not supported by the record”); Am. Key Corp. v. Cole Nat’l Corp.,
    762 F.2d 1569, 1580 (11th Cir. 1985) (holding that expert testimony could not create a triable
    issue of fact where the expert’s “facts” were “based entirely on [a party’s] inadmissible lay
    testimony” and the expert “did nothing to verify the ‘facts’ submitted to him” because
    “[e]xpert opinions ordinarily cannot be based upon the opinions of others whether those
    opinions are in evidence or not” (citations omitted));Constr. Aggregate Transp., Inc. v. Fla.
    Rock Indus., Inc., 710 F.2d 752, 789 (11th Cir. 1983) (“[E]xpert testimony [is] inadmissible
    where [the expert’s] basic assumption as to market share plaintiff would have garnered is
    completely unsupported.” (citing Herman Schwabe, Inc. v. United Shoe Mach. Corp., 297
    F.2d 906, 911–13 (2d Cir. 1962))).
                  2.     The Expert’s Theory of Liability Has Not Been Subject to Peer Review.

           “The fact of publication (or lack thereof) in a peer reviewed journal will be a relevant,
    though not dispositive, consideration in assessing the scientific validity of a particular
    technique or methodology on which an opinion is premised.” Daubert, 509 U.S. at 594.
    “Peer review is significant under Daubert because ‘scrutiny of the scientific community is a
    component of good science, in part, because it increases the likelihood that substantive flaws
    in methodology will be detected.’” Allison, 184 F.3d at 1313 (quoting Daubert, 509 U.S. at
    593). Under this prong of the reliability test, the Eleventh Circuit has “warn[ed] against
    leaping from an accepted scientific premise to an unsupported one.” Id. at 1314 (collecting
    citations). This “leaping” or “extrapolation” problem amounts to substituting personal
    opinion for scientific knowledge. Id. at 1319.
           Unjustified extrapolation suffuses proposed testimony in especially suspect
    circumstances where an alternative methodology points to a different conclusion. Id. at 1314.




                                                  14
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 15 of 22



    The extrapolation problem inherent in Dr. Abrantes-Metz’s proposed testimony has been
    discussed in the previous section.
                  3.      The Potential Rate of Error of the Expert’s Theory Is Uncertain
           The third prong of Daubert requires the court to “consider the known or potential rate
    of error and the existence and maintenance of standards controlling the technique’s
    operation.” Bushore, 1999 WL 1116920, at *4. Here, Dr. Abrantes-Metz did no regression
    analysis or any other econometric or statistical analysis of any data whatsoever. Obviously,
    there is no known or acceptable rate of error in the absence of any testing at all. See Haggerty,
    950 F. Supp. at 1164. For the reasons explained above, there are also substantial “non-
    causation related biases which affect” the expert’s reported conclusions. Id. Consequently,
    the proposed testimony also fails this prong of the test.
                  4.      Dr. Abrantes-Metz’s Testimony as to Liability Is Not Generally
                          Accepted

           “Widespread acceptance can be an important factor in ruling particular evidence
    admissible, and a known technique which has been able to attract only minimal support
    within the community may properly be viewed with skepticism.”              Bushore, 1999 WL
    1116920, at *5 (citing Daubert, 509 U.S. at 594). Any deviation from generally accepted
    methodology must be grounded in “demonstrable and scrupulous adherence to the scientist’s
    creed of meticulous and objective inquiry.” Allen v. Pa. Eng'g Corp., 102 F.3d 194, 197 n.4
    (5th Cir. 1996) (internal quotation marks omitted). This prong of the test enables the district
    court to weigh the relative findings of studies to evaluate whether particular conclusions are
    “out of sync with the conclusions in the overwhelming majority of” other studies. Allison,
    184 F.3d at 1315-16. Dr. Abrantes-Metz’s testimony fails this test.
           As noted above, Dr. Abrantes-Metz opines that there is a “correlation” between events
    and a decline in revenues, but concedes that there is a difference between correlation and
    causation. TIKD offers this “correlation” as evidence that it has been injured, without giving
    any consideration to any other causation factors, including most notably the undisputed fact
    that TIKD admittedly decreased its advertising spending in order to launch and pursue this
    federal litigation and due to the “cost” of such advertising. (Spahn Tr. 193-2 at 143:16-18,
    154:3-21.)




                                                   15
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 16 of 22



               Nowhere does Dr. Abrantes-Metz consider this decrease in advertising and change in
    the business model as a potential cause of TIKD’s alleged decrease in revenue. To the
    contrary, Dr. Abrantes-Metz’s opinions are the product of her blind acceptance of one-sided
    allegations and assumptions which are contradicted by undisputed facts.
               B.       Dr. Abrantes-Metz’s Opinions Are Totally Unsupported Factually

               “Expert testimony is excludable when the factual basis are unsupported and the
    testimony will not assist the jury.” Johnson, 2008 WL 5122261, at *8; see also Joiner, 522
    U.S. at 146 (“[N]othing in either Daubert or the Federal Rules of Evidence requires a district
    court to admit opinion evidence that is connected to existing data only by the ipse dixit of the
    expert.”).
               First, Dr. Abrantes-Metz admits that in many instances the “event’ or conduct by
    Defendants to which she points as “correlating” with drops in TIKD’s revenues and sales do
    not actually correlate. (Dep. at 64:7-65:15.) Moreover, the timing of some of the events to
    which she points is wrong in her report. For example, she cited a CBS article, which she said
    was dated April 28, 2017, as an event which caused a decrease in TIKD’s revenues on that
    date, but the article was actually published 10 days earlier, on April 18, 2017, and in any event
    TIKD’s revenues also increased right afterward. (Report at 51.)12 She cited the August 29,
    2017 date of a written staff opinion issued by TFB as an event which decreased TIKD’s
    revenues on that date, but that Staff Opinion was not shared with anyone but the requester
    until October 3, 2017, and even then there is no evidence that it was shared with consumers
    at any time. (Dep. 120:11-121:12.)13 Thus, Dr. Abrantes-Metz’s proposed testimony about
    the effect of Defendants’ alleged conduct on TIKD’s sales and revenues—the core issue in
    this case—is purely speculative and should not be allowed to confuse the jury. Boucher, 73
    F. 3d at 22.
                Second, Dr. Abrantes-Metz was largely unfamiliar with the facts of the case. Dr.
    Abrantes-Metz indicated that she relied on the testimony of Thomas Spahn, but did not know
    who he was. (Dep. at 36:4-12.) Mr. Spahn was one of only two persons from TIKD who
    was deposed; he is TIKD President and Chief Operating Officer. (Spahn Tr., Doc. 193-2 at
    8:25-9:2.) Dr. Abrantes-Metz did not know that there were contracts between a TIKD affiliate

    12
         Compare https://miami.cbslocal.com/2017/04/18/traffic-ticket-app-tikd-ticket-clinic-battle/ (dated Apr. 18, 2018).
    13
         Kowitt, Tr. Doc. 193-7 at 68:3-69:15.


                                                               16
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 17 of 22



    and attorneys which it uses to provide services for TIKD customers (Dep. at 121:18-123:10),
    although there are such contracts. (Spahn Tr., Doc. 193-2 at 179:17-25; Riley Tr., Doc. 193-
    3 at 172:4-16.) She did not know that TIKD did not do business in all Florida counties. (Dep.
    186:23-187:19.) She was unaware that TIKD decrease its advertising spending in the middle
    of 2017, other than that advertising spending “fluctuated.” (Dep. 65:18-66:17.)
           Third, Dr. Abrantes-Metz proposes to testify that Defendants’ conduct in excluding
    TIKD from the market will cause higher prices for consumers for traffic ticket defense
    services. (Report at 61.) But Dr. Abrantes-Metz admits that she has not studied any actual
    prices of TTC or any of the other competitors in the market. (Dep. 174:24-178:2.) She also
    only compared TIKD’s prices with TTC and not any of the twenty-plus competitors she listed
    in her report. Furthermore, she made a “simplifying assumption” that the dismissal rates for
    all competitors including TIKD were the same and that the percentage of cases where the
    consumer received points was the same for all competitors. (Dep. 235:24-236:13.) Yet, there
    is no evidence to support such an assumption. In fact, there is evidence to the contrary and
    is inconsistent with TIKD’s own damages expert. (Dep. 243:17-254:5.)
           Finally, Dr. Abrantes-Metz’s conclusions about the impact of TIKD’s exclusion from
    the market on consumer benefit from technological innovation are speculative at best and are
    unsupported by the facts. Dr. Abrantes-Metz asserts that, after an increasing number of
    attorneys left TIKD, “[c]onsumers were made worse off due to the loss of innovative and easy
    options to defend their traffic tickets.” (Report at 57.) She presents a Table (Figure 8) with a
    list of “service choices” that consumers can access through TIKD when attempting to defend
    a $200 traffic ticket in Florida, and compares select features of TIKD with only three other
    competitors to conclude that “[d]ue to the exclusion of TIKD from the Relevant Market,
    consumers would have had fewer choices of innovative tools for defending their tickets.”
    (Report at 58.) However, Dr. Abrantes-Metz fails to show that consumers would be denied
    access to the “innovative” features offered by TIKD since her “analysis” does not consider
    more than 20 other purported competitors in the Florida marketplace she herself lists (Report
    at 11-19), much less other potential competitors. Nor does Dr. Abrantes-Metz perform any
    analysis indicating whether customers placed any value on the purported “innovative”
    features offered by TIKD or, if so, whether that value was economically material to their
    decision to use TIKD to resolve their traffic violation. For instance, if customers used TIKD


                                                  17
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 18 of 22



    primarily for other reasons (for example, because TIKD’s services were advertised at a
    Marlins baseball game), and were generally unaware of, or did not use, the features that Dr.
    Abrantes-Metz describes as “innovative,” then most or many customers are not worse off in
    the marketplace if they do not have access to TIKD as an option to resolve their traffic tickets.
    For the features that some customers may have valued, Dr. Abrantes-Metz did not perform
    an adequate analysis to determine whether acceptable substitutes in the eyes of consumers
    exist. Rather than using TIKD’s BetterPay, customers who may value that feature can access
    such a service through their own credit card.14 Moreover, Dr. Abrantes-Metz’s does not
    consider that some competitors offer potentially valued product attributes that TIKD does not
    offer, such as their services via a true mobile application rather than TIKD’s web-based app
    (Dep. 265:7-17), free consultations, or attorney profiles.

            C.       Dr. Abrantes-Metz Proposes to Provide Legal Conclusions that Are Erroneous

            Dr. Abrantes-Metz’s Report also includes a variety of legal conclusions, which invade
    the province of the Court and are therefore inadmissible. More problematically, these
    conclusions are erroneous. For instance, Dr. Abrantes-Metz opines, among other things, that
                    TFB “through its licensing, investigatory, regulatory, and disciplinary
                     functions, including issuing ethics opinions and responding to questions from
                     attorneys calling its Ethics Hotline, serves as the absolute gatekeeper
                     empowered to bar access to attorneys who wish to serve the market” (Report
                     at 5; see also id. at 29);

                    TFB, “[t]hrough its regulations and disciplinary measures with an effect of
                     excluding providers of access to legal services from the Relevant Market, [TFB]




    14
      See “Civil Infraction Tickets,” Harvey Ruvin Clerk of the Courts, Miami-Dade County, Florida, at
    http://www.miami-dadeclerk.com/traffic_civil_infraction.asp.


                                                           18
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 19 of 22



                     has the power to place barriers to entry into and to influence market outcomes
                     in the relevant market” (id.);

                    TFB “sets the rules” and “whoever does not follow the rules set by The Florida
                     Bar … cannot practice law” (Dep. 114:8-11); and

                    TFB has the power to disbar attorneys for working with TIKD (Dep. 132:21-
                     133:7).

    This is a complete misstatement of the law which Plaintiff will attempt to provide to the jury
    under the cloak of an expert. The Florida Supreme Court acts as the absolute gatekeeper to
    attorneys who wish to practice in Florida; the Florida Supreme Court admits attorneys who
    have satisfied the application requirements administered by The Florida Supreme Court’s
    arm, the Board of Bar Examiners; and although TFB has duties under the Rules Regulating
    the Florida Bar, these are promulgated by The Florida Supreme Court, and any discipline or
    ruling on UPL is reserved for the ultimate and final authority of the Florida Supreme Court.
    Dr. Abrantes-Metz has no understanding of this. (Dep. 109:23-119:17, 131:25-133:7.)
           Dr. Abrantes-Metz’s opinion, however, is that TFB essentially performs all of the
    functions of the Florida Supreme Court and the Board of Bar Examiners, which completely
    contradicts the law and would be highly prejudicial and misleading to a jury. See, e.g.,
    Montgomery v. Aetna Cas. & Sur. Co., 898 F.2d 1537, 1541 (11th Cir. 1990) (“the court must
    be the jury’s only source of law”); In re Rosenberg, No. 09–13196–BKC–AJC, 2012 WL
    3870351, at *2 (Bankr. S.D. Fla. 2012) (“[I]nstructing the jury on legal matters is the exclusive
    domain of the judge. . . . [A]n expert witness is prohibited from rendering a legal opinion
    because doing so would usurp the court’s role and possibly confuse the jury. The Court
    believes that the District Court is capable of explaining the applicable law to the jury.”).
            V.       Conclusion

           Dr. Abrantes-Metz’s proposed testimony on key elements of TIKD’s case is neither
    reliable nor consistent with the record evidence. Moreover, her approach is unscientific,
    unsupported by any econometric or statistical analysis of the facts, and relies on assumptions
    not only unsupported by the facts but contrary to the facts. It quite simply appears to be
    product of advocacy and not scientific inquiry. The Supreme Court has instructed district
    courts to exclude expert witness testimony of this nature and this Court should do so for the
    reasons stated above.


                                                   19
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 20 of 22



                            REQUEST FOR EVIDENTIARY HEARING

           Defendants respectfully request that the Court set this matter for an evidentiary
    Daubert hearing not to exceed four hours. See City of Tuscaloosa, 158 F.3d at 564 n.21
    (“While Daubert hearings are not required by law or by rules of procedure, they are almost
    always fruitful uses of the court’s time and resources in complicated cases involving multiple
    expert witnesses, such as the instant case.”); Goebel v. Denver & Rio Grande W. R.R., 215
    F.3d 1083, 1089 (10th Cir. 2000) (remanding case for new trial finding that district court had
    not fulfilled its “gatekeeping function” in failing to hold a Daubert hearing upon plaintiff’s
    request).
                                     GOOD FAITH CERTIFICATION

           The undersigned counsel certifies that he has contacted opposing counsel in a good-
    faith effort to resolve the disputed issues presented herein and that opposing counsel does not
    agree to the relief requested.
           Respectfully submitted this 28th day of September, 2018.
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                                                  20
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 21 of 22



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                                         21
Case 1:17-cv-24103-MGC Document 242 Entered on FLSD Docket 09/28/2018 Page 22 of 22




                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by
        electronic service on September 28, 2018 to:

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